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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 ISAIAH I. BRADY,

                               Plaintiff,        Case Number: 18-cv-5612

        v.                                       Judge: Franklin U. Valderrama

 WEXFORD HEALTH SOURCES, INC.,           Magistrate Judge: Heather K. McShain
 GHALIAH OBAISI, as Independent Executor
 of the Estate of Saleh Obaisi, JANE DOE
 “NURSE LYDIA”, UNKNOWN HEALTH
 CARE UNIT ADMINISTRATOR, and
 JOHN DOE CORRECTIONAL OFFICER,

                               Defendants.

        JOINT STATUS REPORT BY PLAINTIFF ISAIAH I. BRADY AND
   DEFENDANTS WEXFORD HEALTH SOURCES, INC. AND GHALIAH OBAISI,
      AS INDEPENDENT EXECUTOR OF THE ESTATE OF SALEH OBAISI,
           REGARDING THE COURT’S NOVEMBER 16, 2020 ORDER

       Pursuant to the Court’s November 16, 2020 Minute Entry (ECF No. 93), plaintiff Isaiah I.

Brady and defendants Wexford Health Sources, Inc. and Ghaliah Obaisi, as Independent Executor

of the Estate of Saleh Obaisi (collectively the “Wexford defendants”), hereby submit this Joint

Status Report.

                                  STATUS OF DISCOVERY

       The parties have propounded their respective First Sets of Interrogatories and Document

Requests. Plaintiff and Wexford have served their answers and responses. Defendant Obaisi is in

the process of reviewing and verifying her answers and responses. Plaintiff has requested a meet

and confer with counsel for Wexford regarding the adequacy of its discovery responses.

       Plaintiff has identified several Wexford witnesses that he intends to notice for deposition

and defendant Wexford will be working with counsel for plaintiffs to schedule those depositions.
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Defendant Wexford also is working to schedule the deposition of Mr. Brady. The parties will

endeavor to conduct these initial depositions in January and early February.

                         STATUS OF SETTLEMENT DISCUSSIONS

        To date, the parties have not yet engaged in settlement discussions and do not believe

settlement discussions would be productive at this early stage of litigation.

           OTHER ISSUES TO BE BROUGHT TO THE COURT’S ATTENTION

        The parties are not aware of any other issues that need to be brought to the Court’s attention

at this time.

 Dated: January 4, 2021

                                                      /s/ Terrence J. Truax
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2021, I caused a true and correct copy of the foregoing

to be electronically served on counsel of record via the Court’s CM/ECF system.



Dated: January 4, 2021                                      /s/ Terrence J. Truax
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